Case 2:05-cr-20249-.]DB Document 35 Filed 08/24/05 Page 1 of 2 Page|D 35

 

1N THE UNITEI) sTATES DISTRICT COURT F"~ED B"’ ~»jé_. D.C.
FOR THE WESTERN DIsTRICT OF TENNESSEE '
WESTERN DIVISION 95 AUB 2b PH 3¢ !5
uNITED sTATEs OF AMERICA THUF*@@§F;?- CU’JLD
§ CLE§;/S§J§;;j>'t§si'wum
‘i‘=" "§‘w'""t~
Plaimiff, ) ` "` ~ ' °
)
v. ) NO. 2:05-20249-BAn
)
JUAN DELABRA )
)
Defendant. )

 

ORDER GRANTING MOTION TO WlTHDRAW AS COUNSEL

 

Before the Court is a Motion to Withdraw as Counsel for the Defendant filed by Charles
W. Medlin, Attorney at Law, on August 3, 2005. For good cause shown, the motion is
GRANTED. Attorney Charles W. Medlin is hereby permitted to withdraw as counsel for
Defendant.

lT IS S() ORDERED.

§//Z/m_c @J.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 4 c)¢‘ O?OCX/

- , f `3
…r `\d,\‘\£f
_ -r\ ;_‘,Oii\r) /
OOG=\&G*L ::`=li`\@e’:& 51 05
me ‘ _V/
\ .
w \e¥\ l F\G‘F 00
. '-{) ,
'Y“\S
. gu\@
\N\’L`F\

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Charles W. Medlin

LAW OFFICE OF CHARLES B/[EDLIN
221 l Norfolk

Ste. 735

Houston, TX 77098

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable J. Breen
US DISTRICT COURT

